                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

ROBERT FARINA,

                      Plaintiff,                      Civil Action No.

       v.                                             COMPLAINT FOR VIOLATIONS
                                                      OF THE FEDERAL SECURITIES
MYOKARDIA, INC., SUNIL AGARWAL,                       LAWS
MARY CRANSTON, TASSOS
GIANAKAKOS, DAVID MEEKER, MARK
PERRY, KIM POPOVITS, and WENDY                        JURY TRIAL DEMANDED
YARNO,

                      Defendants.


       Plaintiff Robert Farina (“Plaintiff”) by and through his undersigned attorneys, brings this

action on behalf of himself, and alleges the following based upon personal knowledge as to those

allegations concerning Plaintiff and, as to all other matters, upon the investigation of counsel,

which includes, without limitation: (a) review and analysis of public filings made by MyoKardia,

Inc., (“MyoKardia” or the “Company”) and other related parties and non-parties with the United

States Securities and Exchange Commission (“SEC”); (b) review and analysis of press releases

and other publications disseminated by certain of the Defendants (defined below) and other

related non-parties; (c) review of news articles, shareholder communications, and postings on

MyoKardia’s website concerning the Company’s public statements; and (d) review of other

publicly available information concerning MyoKardia and the Defendants.

                                   NATURE OF THE ACTION

       1.     Plaintiff brings this action against the Company and members of the Company’s

Board of Directors (the “Board” or the “Individual Defendants”) for violations of Sections

14(d)(4), 14(e) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15
U.S.C. §§ 78n(d)(4), 78n(e), 78t(a), and SEC Rule 14d-9, 17 C.F.R. §240.14d-9(d) (“Rule 14d-

9”), in connection with the proposed acquisition of the Company by Bristol-Myers Squibb

Company (“Parent”) and Gotham Merger Sub Inc. (“Merger Sub, and together with Parent,

“Bristol-Myers”). (the “Proposed Transaction”).

       2.      On October 3, 2020, MyoKardia the Company entered into definitive agreement

with Bristol-Myers (the “Merger Agreement”), pursuant to which Merger Sub commenced a

tender offer (the “Tender Offer”) to purchase all of MyoKardia’s outstanding common stock for

$225.00 per share in cash. The Tender Offer is scheduled to expire on November 16, 2020.

       3.      On October 19, 2020, the Company filed an incomplete and materially misleading

Recommendation Statement with the SEC (the “Recommendation Statement”) in connection

with the Proposed Transaction. The Recommendation Statement omits material information

concerning the Proposed Transaction.

       4.      Accordingly, the failure to adequately disclose such material information

constitutes a violation of Sections 14(d), 14(e) and 20(a) of the Exchange Act as MyoKardia

stockholders need such information in order to make a fully informed decision whether to tender

their shares in support of the Proposed Transaction or seek appraisal.

       5.      As set forth more fully herein, Plaintiff seeks to enjoin Defendants from

proceeding with the Proposed Transaction.

                                JURISDICTION AND VENUE

       6.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 as Plaintiff alleges violations of Sections 14(d)(4),

14(e) and 20(a) of the Exchange Act




                                                  2
          7.    This Court has personal jurisdiction over all of the Defendants because each is

either a corporation that conducts business in, solicits shareholders in, and/or maintains

operations within, this District, or is an individual who is either present in this District for

jurisdictional purposes or has sufficient minimum contacts with this District so as to make the

exercise of jurisdiction by this Court permissible under traditional notions of fair play and

substantial justice.

          8.    Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.        In addition, the

Company’s common stock trades on the NASDAQ Global Select Market (“NASDAQ”), which

is headquartered in this District.

                                          THE PARTIES

          9.    Plaintiff has been the owner of the common stock of MyoKardia since prior to the

transaction herein complained of and continuously to date.

          10.   Defendant MyoKardia is a Delaware corporation with its principal executive

offices located at 1000 Sierra Point Parkway, Brisbane, California 94005. The Company’s stock

trades on the NASDAQ under the ticker “MYOK.”

          11.   Defendant Sunil Agarwal (“Agarwal”) is and has been a director of the Company

at all times during the relevant time period.

          12.   Defendant Mary Cranston (“Cranston”) is and has been a director of the Company

at all times during the relevant time period.

          13.   Defendant Tassos Gianakakos (“Gianakakos”) is and has been the President,

Chief Executive Officer, and a director of the Company at all times during the relevant time

period.




                                                3
       14.     Defendant David Meeker (“Meeker”) is and has been a director of the Company

at all times during the relevant time period.

       15.     Defendant Mark Perry (“Perry”) is and has been a director of the Company at all

times during the relevant time period.

       16.     Defendant Kim Popovits (“Popovits”) is and has been a director of the Company

at all times during the relevant time period.

       17.     Defendant Wendy Yarno (“Yarno”) is and has been a director of the Company at

all times during the relevant time period.

       18.     Defendants Agarwal, Cranston, Gianakakos, Meeker, Perry, Popovits, and Yarno

are collectively referred to herein as the “Individual Defendants.”

       19.     Defendant MyoKardia, along with the Individual Defendants, are collectively

referred to herein as “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                                  Background of the Company

       20.     MyoKardia is a clinical-stage biopharmaceutical company discovering and

developing targeted therapies for the treatment of serious cardiovascular diseases. The Company

is pioneering a precision medicine approach to its discovery and development efforts by 1)

understanding the biomechanical underpinnings of disease; 2) targeting the proteins that

modulate a given condition; 3) identifying patient populations with shared disease

characteristics; and 4) applying learnings from research and clinical studies to inform and guide

pipeline growth and product advancement. MyoKardia’s initial focus is on small molecule

therapeutics aimed at the proteins of the heart that modulate cardiac muscle contraction to

address diseases driven by excessive contraction, impaired relaxation, or insufficient contraction.




                                                 4
Among its discoveries are three clinical-stage therapeutics: mavacamten (formerly MYK-461);

danicamtiv (formerly MYK-491) and MYK-224.

                      The Company Announces the Proposed Transaction

        21.     On October 5, 2020, MyoKardia issued a press release announcing that the

Company had entered an agreement in connection with the Proposed Transaction. The press

release stated, in pertinent part:

        NEW YORK & BRISBANE, Calif.--(BUSINESS WIRE)--Bristol Myers
        Squibb (NYSE: BMY) and MyoKardia, Inc. (Nasdaq: MYOK) today announced a
        definitive merger agreement under which Bristol Myers Squibb will acquire
        MyoKardia for $13.1 billion, or $225.00 per share in cash. The transaction was
        unanimously approved by both the Bristol Myers Squibb and MyoKardia Boards
        of Directors and is anticipated to close during the fourth quarter of 2020.

        MyoKardia is a clinical-stage biopharmaceutical company discovering and
        developing targeted therapies for the treatment of serious cardiovascular diseases.
        Through the transaction, Bristol Myers Squibb gains mavacamten, a potential
        first-in-class cardiovascular medicine for the treatment of obstructive
        hypertrophic cardiomyopathy (“HCM”), a chronic heart disease with high
        morbidity and patient impact. A New Drug Application (“NDA”) for mavacamten
        for the treatment of symptomatic obstructive HCM – based on data from the
        EXPLORER-HCM study – is expected to be submitted to the U.S. Food and Drug
        Administration (“FDA”) in the first quarter of 2021. Bristol Myers Squibb expects
        to explore the full potential of mavacamten in additional indications, including
        non-obstructive HCM, as well as develop MyoKardia’s promising pipeline of
        novel compounds, including two clinical-stage therapeutics: danicamtiv (formerly
        MYK-491) and MYK-224.

        “The acquisition of MyoKardia further strengthens our portfolio, pipeline and
        scientific capabilities, and is expected to add a meaningful medium- and long-
        term growth driver,” said Giovanni Caforio, M.D., Board Chair and Chief
        Executive Officer of Bristol Myers Squibb. “We are further strengthening our
        outstanding cardiovascular franchise through the addition of mavacamten, a
        promising medicine with the potential to address a significant unmet medical need
        in patients with cardiovascular disease. Our companies share a commitment to
        innovation and bold science, and our respective strengths will help us realize the
        value inherent in this portfolio. We have long admired MyoKardia and what they
        have done to revolutionize cardiovascular treatments through a precision
        medicine approach. We look forward to welcoming their talented team to our
        company.”



                                                5
“MyoKardia was formed eight years ago with the aim of changing the world for
people with serious cardiovascular diseases through bold and innovative science.
Since then, MyoKardia’s dedicated employees have established an unparalleled
pipeline of targeted therapeutics designed to change the course of disease and
return the heart to normal function,” said Tassos Gianakakos, Chief Executive
Officer of MyoKardia. “Bristol Myers Squibb shares our vision for transforming
the treatment of cardiovascular disease. They value our team and the potential of
our platform and, most importantly, share our unwavering commitment to placing
patients at the center of everything we do. Together, our complementary strengths
and expanded resources and reach will further accelerate the pace at which we can
discover, develop and commercialize our novel medicines for the benefit of
people suffering from cardiovascular disease around the world.”

                                 *      *       *

Transaction Terms and Financing

Under the terms of the merger agreement, a subsidiary of Bristol Myers Squibb
will promptly commence a tender offer to acquire all of the outstanding shares of
MyoKardia’s common stock for $225.00 per share in cash. MyoKardia’s Board of
Directors unanimously recommends that MyoKardia shareholders tender their
shares in the tender offer.

The transaction is subject to customary closing conditions, including the tender of
a majority of the outstanding shares of MyoKardia’s common stock and the
expiration or termination of the waiting period under the Hart-Scott-Rodino
Antitrust Improvements Act of 1976. Following the successful closing of the
tender offer, Bristol Myers Squibb will acquire all remaining shares of
MyoKardia that are not tendered into the tender offer through a second-step
merger at the same price of $225.00 per share.

Bristol Myers Squibb expects to finance the acquisition with a combination of
cash and debt.

About Hypertrophic Cardiomyopathy

Hypertrophic cardiomyopathy, or HCM, is a chronic, progressive disease in
which excessive contraction of the heart muscle and reduced ability of the left
ventricle to fill can lead to the development of debilitating symptoms and cardiac
dysfunction. HCM is estimated to affect one in every 500 people.

The most frequent cause of HCM is mutations in the heart muscle proteins of the
sarcomere. In approximately two-thirds of HCM patients, the path followed by
blood exiting the heart, known as the left ventricular outflow tract (LVOT),


                                        6
  becomes obstructed by the enlarged and diseased muscle, restricting the flow of
  blood from the heart to the rest of the body (obstructive HCM). In other patients,
  the thickened heart muscle does not block the LVOT, and their disease is driven
  by diastolic impairment due to the enlarged and stiffened heart muscle (non-
  obstructive HCM). In either obstructive or non-obstructive HCM patients,
  exertion can result in fatigue or shortness of breath, interfering with a patient’s
  ability to participate in activities of daily living. HCM has also been associated
  with increased risks of atrial fibrillation, stroke, heart failure and sudden cardiac
  death.

  There are currently approximately 160,000 to 200,000 people diagnosed with
  symptomatic obstructive HCM across the U.S. and EU, with no existing effective
  treatment options beyond limited symptomatic relief. Patients are typically
  diagnosed in their 40s or 50s and the treatment is expected to be chronic. It is
  estimated that only approximately 25 percent of individuals with obstructive
  HCM and only approximately 10 percent of individuals with non-obstructive
  HCM have received a diagnosis.

  Conference Call

  At 8:00 a.m. Eastern Time / 5:00 a.m. Pacific Time today, Bristol Myers Squibb
  will host a conference call and a simultaneous webcast to discuss the transaction.
  A live webcast of the call can be accessed at Bristol Myers Squibb’s Investors
  page at bms.com/investors. Please connect to the website at least 15 minutes prior
  to the start of the call to allow adequate time for any software download that may
  be required. Alternatively, please call (877) 658-9096 (U.S.) or (602) 563-8733
  (international) and dial the conference ID 9697843 to access the call.

  Telephone replay will be available approximately three hours after the call until
  11:30 a.m. ET on October 19, 2020. To access the replay, please call (855) 859-
  2056 (U.S.) or (404) 537-3406 (international) and dial the conference ID
  9697843. The webcast will be archived on bms.com/investors.

  Advisors

  Gordon Dyal & Co., LLC is serving as exclusive financial advisor to Bristol
  Myers Squibb, and Kirkland & Ellis LLP is serving as legal counsel. Centerview
  Partners LLC and Guggenheim Securities are acting as joint financial advisors to
  MyoKardia and Goodwin Procter LLP is serving as legal counsel.

             FALSE AND MISLEADING STATEMENTS
AND/OR MATERIAL OMISSIONS IN THE RECOMMENDATION STATEMENT




                                           7
       22.      On October 19, 2020, the Company authorized the filing of the Recommendation

Statement with the SEC. The Recommendation Statement recommends that the Company’s

stockholders tender their shares in favor of the Proposed Transaction.

       23.      Defendants were obligated to carefully review the Recommendation Statement

prior to its filing with the SEC and dissemination to the Company’s unitholders to ensure that it

did not contain any material misrepresentations or omissions. However, the Recommendation

Statement misrepresent and/or omit material information that is necessary for the Company’s

shareholders to make informed decisions concerning whether to tender their shares in favor of

the Proposed Transaction.

                    Material False and Misleading Statements or Material
             Misrepresentations or Omissions Regarding Managements Projections

       24.      The Recommendation Statement contains financial projections prepared by senior

members of MyoKardia’s management in connection with the Proposed Transaction, but fails to

provide material information concerning such.

       25.      The SEC has repeatedly emphasized that disclosure of non-GAAP projections can

be inherently misleading, and has therefore heightened its scrutiny of the use of such

projections.1 Indeed, on May 17, 2016, the SEC’s Division of Corporation Finance released new

and updated Compliance and Disclosure Interpretations (“C&DIs”) on the use of non-GAAP




1
   See, e.g., Nicolas Grabar and Sandra Flow, Non-GAAP Financial Measures: The SEC’s
Evolving Views, Harvard Law School Forum on Corporate Governance and Financial
Regulation (June 24, 2016), available at https://corpgov.law.harvard.edu/2016/06/24/non-gaap-
financial-measuresthesecs evolving-views/; Gretchen Morgenson, Fantasy Math Is Helping
Companies Spin Losses Into Profits, N.Y. Times, Apr. 22, 2016, available at
http://www.nytimes.com/2016/04/24/business/fantasy-mathis-helping-companies-spin-ossesinto-
profits.html?_r=0.



                                                8
financial measures that demonstrate the SEC’s tightening policy.2 One of the new C&DIs

regarding forward-looking information, such as financial projections, explicitly requires

companies to provide any reconciling metrics that are available without unreasonable efforts.

       26.    In order to make management’s projections included in the Recommendation

Statement materially complete and not misleading, Defendants must provide a reconciliation

table of the non-GAAP measures to the most comparable GAAP measures.

       27.    Specifically, with respect to each set of financial projections, the Company must

disclose the line item projections for the financial metrics that were used to calculate the non-

GAAP measures, including, but not limited to, all line items used to calculate EBIT.

       28.    Disclosure of the above line item projections is vital to provide investors with the

complete mix of information necessary to make an informed decision when deciding whether to

tender their shares in connection with the Proposed Transaction.

                  Material False and Misleading Statements or Material
             Misrepresentations or Omissions Regarding Centerview’s Opinion

       29.    The Recommendation Statement contains the financial analyses and opinion of

Centerview Partners LLC (“Centerview”) concerning the Proposed Transaction but fails to

provide material information concerning information concerning such.

       30.    With respect to Centerview’s Selected Public Company Analysis, the

Recommendation Statement fails to disclose the basis for Centerview’s selection of a reference

range of 2024E EV/Revenue Trading Multiples of 4.0x to 6.0x.




2
 Non-GAAP Financial Measures, Compliance & Disclosure Interpretations, U.S. SECURITIES
AND       EXCHANGE          COMMISSION           (May     17,     2017), available   at
https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm.


                                                9
        31.     With respect to Centerview’s Selected Precedent Transaction Analysis, the

Recommendation Statement fails to disclose the basis for Centerview’s application of a reference

range of 9.5x to 11.5x four-year forward revenue multiples.

        32.     With    respect   to   Centerview’s   Discounted   Cash    Flow    Analysis,   the

Recommendation Statement fails to disclose: (i) the basis for Centerview’s assumption that

unlevered free cash flows would decline in perpetuity after December 31, 2045 at a rate of free

cash flow decline 80% year-over-year; (ii) the terminal values of the Company; (iii) the inputs

and assumptions underlying Centerview’s selection of the range of discount rates from 9.0% to

11.0%; and (iv) the Company’s fully diluted outstanding shares.

        33.     With respect to Centerview’s Analyst Price Target Analysis, the Recommendation

Statement fails to disclose: (i) the specific price targets observed in Centerview’s analysis; and

(ii) the sources thereof.

        34.     With respect to Centerview’s Premiums Paid Analysis, the Recommendation

Statement fails to disclose the premiums observed by Centerview in its analysis.

                    Material False and Misleading Statements or Material
              Misrepresentations or Omissions Regarding Guggenheim’s Opinion

        35.     The Recommendation Statement contains the financial analyses and opinion of

Guggenheim Securities LLC (“Guggenheim”) concerning the Proposed Transaction but fails to

provide material information concerning information concerning such.

        36.     With respect to Guggenheim’s Discounted Cash Flow Analysis, the

Recommendation Statement fails to disclose: (i) the Company’s terminal values; (ii) the

individual inputs and assumptions underlying Guggenheim’s selection of the range of discount

rates from 8.5% to 10.5%; (iii) the basis for Guggenheim’s selection of an illustrative perpetual

growth rate of negative 80%; and (iv) the Company’s diluted shares outstanding.



                                                10
        37.     With respect to Guggenheim’s Selected Precedent Merger and Acquisition

Transactions Analysis, the Recommendation Statement fails to disclose the basis for

Guggenheim’s selecting a transaction enterprise value/risk adjusted revenue multiple range of

4.0x-7.3x.

        38.     With respect to Guggenheim’s Premia Paid in Selected Merger and Acquisition

Transactions Analysis, the Recommendation Statement fails to disclose the specific transactions

observed in the analysis as well as the premiums paid in each of the transactions.

        39.     With respect to Guggenheim’s Wall Street Equity Research Analyst Stock Price

Targets Analysis, the Recommendation Statement fails to disclose: (i) the specific price targets

observed in the analysis; and (ii) the sources thereof.

        40.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed. Moreover,

the disclosure of projected financial information is material because it provides stockholders with

a basis to project the future financial performance of a company and allows stockholders to

better understand the financial analyses performed by the company’s financial advisor in support

of its fairness opinion.

        41.     Without the above described information, the Company’s shareholders are not

fully informed with respect to the Proposed Transaction. Accordingly, in order to provide

shareholders with a complete mix of information, the omitted information described above

should be disclosed.

                                             COUNT I

                     (Against All Defendants for Violations of Section 14(d)
                of the Exchange Act and Rule 14d-9 Promulgated Thereunder)



                                                 11
          42.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          43.   Section 14(d)(4) of the Exchange Act and Rule 14d-9 promulgated thereunder

makes it a requirement to make full and complete disclosure in connection with tender offers.

          44.   As discussed herein, the Recommendation Statement, while soliciting shareholder

support for the Proposed Transaction, misrepresent and/or omit material facts concerning the

Proposed Transaction.

          45.   Defendants prepared, reviewed, filed and disseminated the false and misleading

Recommendation Statement to MyoKardia shareholders. In doing so, Defendants knew or

recklessly disregarded that the Recommendation Statement failed to disclose material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading.

          46.   The omissions and incomplete and misleading statements in the Recommendation

Statement are material in that a reasonable shareholder would consider them important in

deciding whether to tender their shares in favor of the Proposed Transaction. In addition, a

reasonable investor would view such information as altering the “total mix” of information made

available to shareholders.

          47.   By virtue of their positions within the Company and/or roles in the process and in

the preparation of the Recommendation Statement, Defendants were undoubtedly aware of this

information and had previously reviewed it, including participating in the Proposed Transaction

negotiation and sales process and reviewing MyoKardia’s financial advisor’s complete financial

analyses purportedly summarized in the Recommendation Statement.




                                                  12
          48.   The Individual Defendants undoubtedly reviewed and relied upon the omitted

information identified above in connection with their decision to approve and recommend the

Proposed Transaction.

          49.   MyoKardia is deemed negligent as a result of the Individual Defendants’

negligence in preparing and reviewing the Recommendation Statement.

          50.   Defendants knew that Plaintiff and other shareholders would rely upon the

Recommendation Statement in determining whether to tender their shares in favor of the

Proposed Transaction.

          51.   As a direct and proximate result of Defendants’ unlawful course of conduct in

violation of Section 14(d)(4) of the Exchange Act and Rule 14d-9 promulgated thereunder,

absent injunctive relief from the Court, Plaintiff and other shareholders will suffer irreparable

injury by being denied the opportunity to make an informed decision as to whether to tender their

shares in favor of the Proposed Transaction.

          52.   Plaintiff has no adequate remedy at law.

                                             COUNT II

                              (Against All Defendants for Violation
                              Of Section 14(e) of the Exchange Act)

          53.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          54.   Defendants violated Section 14(e) of the Exchange Act by issuing the

Recommendation Statement in which they made false statements of material fact or failed to

state all material facts that would be necessary to make the statements made, in light of the

circumstances, not misleading, or engaged in deceptive or manipulative acts or practices, in

connection with the Proposed Transaction.



                                                  13
          55.   Defendants knew that Plaintiff and the Company’s shareholders would rely upon

their statements made in the Recommendation Statement in determining whether to tender shares

in favor of the Proposed Transaction.

          56.   As a direct and proximate result of Defendants’ unlawful course of conduct in

violation of Section 14(e) of the Exchange Act, absent injunctive relief from the Court, Plaintiff

and other shareholders will suffer irreparable injury by being denied the opportunity to make an

informed decision as to whether to tender their shares in favor of the Proposed Transaction.

                                            COUNT III

                            (Against the Individual Defendants for
                        Violations of Section 20(a) of the Exchange Act)

          57.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          58.   The Individual Defendants acted as controlling persons of MyoKardia within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of MyoKardia, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Recommendation

Statement filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision-making of the Company, including the content and

dissemination of the various statements which Plaintiff contends are false and misleading.

          59.   Each of the Individual Defendants were provided with or had unlimited access to

copies of the Recommendation Statement and other statements alleged by Plaintiff to be

misleading prior to and/or shortly after these statements were issued and had the ability to

prevent the issuance of the statements or cause the statements to be corrected.




                                                  14
       60.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the securities

violations alleged herein, and exercised the same. The Recommendation Statement contain the

unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were thus directly connected with and involved in the making of the

Recommendation Statement.

       61.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(e) of the Exchange

Act, by their acts and omissions as alleged herein. By virtue of their positions as controlling

persons and the acts described herein, the Individual Defendants are liable pursuant to Section

20(a) of the Exchange Act.

       62.     As a direct and proximate result of Individual Defendants’ conduct, Plaintiff will

be irreparably harmed.

       63.     Plaintiff has no adequate remedy at law.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      Directing the Individual Defendants to disseminate an Amendment to the

Recommendation Statement that does not contain any untrue statements of material fact and that

states all material facts required in it or necessary to make the statements contained therein not

misleading;




                                               15
       C.      Directing Defendants to account to Plaintiff for their damages sustained because

of the wrongs complained of herein;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: October 29, 2020                                 Respectfully submitted,

                                                        By: /s/ Joshua M. Lifshitz
                                                        Joshua M. Lifshitz
                                                        Email: jml@jlclasslaw.com
                                                        LIFSHITZ LAW FIRM, P.C.
                                                        821 Franklin Avenue, Suite 209
                                                        Garden City, New York 11530
                                                        Telephone: (516) 493-9780
                                                        Facsimile: (516) 280-7376

                                                        Attorneys for Plaintiff




                                                   16
